Case 2:20-cv-00169-JAK-DFM Document 30 Filed 03/04/20 Page 1 of 2 Page ID #:1557

                                                                             JS-6
   1
   2                                                                         3/4/2020
   3
   4
   5
   6
   7
   8                          UNITED STATES DISTRICT COURT

   9                        CENTRAL DISTRICT OF CALIFORNIA

  10
  11   SONOS, INC.,                                Case No. 2:20-CV-00169-JAK (DFMx)
  12                   Plaintiff,                  ORDER RE JOINT STIPULATION
                                                   SEEKING EXTENSION OF TIME
  13   v.                                          TO RESPOND (DKT. 28)
  14   GOOGLE LLC,
  15                   Defendant.
  16
  17         Based on a review of the parties’ Joint Stipulation Seeking Extension of

  18   Time to Respond (the “Stipulation” (Dkt. 28), sufficient good cause was shown for

  19   the requested relief. However, due to an administrative oversight, the matter was

  20   not addressed between the filing of the Stipulation on February 25, 2020, and the

  21   due date for the response to the Complaint, i.e., March 2, 2020. Consequently,

  22   Google filed an answer on March 2, 2020. Dkt. 29.

  23         Google has filed a separate motion (“Motion”) for a stay of Sonos’s claims

  24   for patent infringement in this action pending the completion of a related

  25   proceeding before the United States International Trade Commission

  26   (“Commission”). Dkt. 26. Sonos does not oppose the Motion. See Declaration of

  27   Lance Yang, Dkt. 26-1 ¶ 4. Although the Motion is set for hearing on May 19,

  28   2020, in light of the non-opposition and in the interest of party and judicial
Case 2:20-cv-00169-JAK-DFM Document 30 Filed 03/04/20 Page 2 of 2 Page ID #:1558



   1   efficiency, it is determined that the Motion can be addressed at this time and
   2   without a hearing. See L.R. 7-15, 7-16.
   3          Because sufficient good cause has been shown for the relief requested in the
   4   Motion, it is GRANTED. This action is stayed and moved to the Court’s inactive
   5   calendar pending the completion of the proceedings before the Commission. The
   6   parties shall file a joint report as to the status of those proceedings on the earlier of
   7   every 90 days, or within 10 days after the completion of the proceedings before the
   8   Commission. The first report is due no later than June 5, 2020. This Order is
   9   without prejudice to the ability of either party, for good cause shown, to seek an
  10   order lifting the stay.
  11          IT IS SO ORDERED.
  12
  13
  14   Dated: March 4, 2020              _________________________________
                                              John A. Kronstadt
  15
                                              United States District Judge
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
